                              	NO. 07-10-0327-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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SEPTEMBER 1, 2010  
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                                BURNWOOD, INC.,
                                       
									Appellant

	v.

	CRAIG, TERRILL, HALE &amp; GRANTHAM, LLP, H. GRADY
                 TERRILL, ANDREW B. CURTIS; RUSTY CAGLE D/B/A
                 RED BOTTOMS A/K/A FLATLANDER'S, RAVAN RAY,
                  INDIVIDUALLY AND D/B/A RAYLAND PROPERTIES, 
                   INC., RAYLAND PROPERTIES, INC, and BRIAN 
                              TEAL, INDIVIDUALLY,
									Appellees
	____________________________

	FROM THE 72nd DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2007-543,077-A; HON. RUBEN REYES, PRESIDING
	
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Memorandum Opinion
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


Appellant Burnwood, Inc. filed their notice of appeal on August 12, 2010.  However, appellant did not pay the $175 filing fee required from appellants under Texas Rule of Appellate Procedure 5.  Nor did they file an affidavit of indigence per Texas Rule of Appellate Procedure 20.1.  By letter from this Court dated August 12, 2010, we informed appellant that the filing fee in the amount of $175.00 has not been paid . . . .  Failure to pay the filing fee within ten (10) days from the date of this notice may result in a dismissal.  Tex. R. App. P. 42.3(c); see Holt v. F. F. Enterprises, 990 S.W.2d 756 (Tex. App.  - Amarillo 1998, pet. refd).  The deadline lapsed, and the fee was not received. 
Because appellant has failed to pay the requisite filing fee as directed by the court, we dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.3(c). 
                                                               		
Per Curiam









